                    IN THE UNITED STATES DISTRICT COURT

              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


BRIAN DAVID HILL,                           :
       Petitioner,                          :
                                            :
                         v.                 :           1:13CR435-1
                                            :           1:17CV1036
UNITED STATES OF AMERICA,                   :
       Respondent.                          :

GOVERNMENT’S RESPONSE TO “MOTION AND BRIEF FOR LEAVE TO
 FILE ADDITIONAL EVIDENCE” AND GOVERNMENT’S MOTION FOR
                  PRE-FILING INJUNCTION

      NOW COMES the United States of America, by and Matthew G.T.

Martin, United States Attorney for the Middle District of North Carolina, and

respectfully files this response to Petitioner’s “Motion and Brief for Leave to

File Additional Evidence” (ECF Docket Entries (“DE”) # 144, # 145) and a

Motion For Pre-Filing Injunction regarding the Petitioner in the above-

captioned matter.

Response to Petitioner’s Motion and Brief for Leave to File Additional

Evidence

      The government opposes Petitioner’s “Petitioner’s Motion and Brief for

Leave to File Additional Evidence” (DE # 144, # 145), as it (1) has been filed

beyond the applicable time limits, (2) contains nothing which Petitioner could

not have included in his initial § 2255 Motion, (3) is irrelevant to his claim(s)




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of actual innocence, and (4) is another example of Petitioner using the federal

court filing system to make unsupported conclusory allegations of misconduct

by others, as will be addressed further in the government’s Motion For Pre-

Filing Injunction.

        As stated in the government’s Motion for Extension of Time To File

Response (DE #146) Petitioner was advised in a Roseboro letter 1 (DE #142)

sent from the Clerk of Court dated January 10, 2018, that he had “the right to

file a 20-page response in opposition to the respondent's motion…within 21

days from the date of service of the respondent's motion upon [Petitioner].” (DE

# 142). While Petitioner did respond within the time limit set forth above (DE

# 143), Petitioner now seeks supplement his reply with “Petitioner’s Motion

and Brief for Leave to File Additional Evidence” (DE #144, #145), filed on

March 7, 2018, well after the 21-day limit expired. Petitioner now makes

claims to equitable tolling, regarding not only his untimely-filed § 2255 motion

(DE #125), but also to his effort to supplement his reply (DE #144, 145).

        “[A] petitioner is entitled to equitable tolling only if he shows (1) that he

has been pursuing his rights diligently, and (2) that some extraordinary

circumstance stood in his way and prevented timely filing.” Holland v. Florida,



1   see Roseboro v. Garrison, 528 F.2d 309 (4th Cir. 1975).

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560 U.S. 631, 649 (2010) (internal quotation marks omitted). “The diligence

required for equitable tolling purposes is reasonable diligence, not maximum

feasible diligence.” Id. at 653 (citations omitted) (internal quotation marks

omitted). Ordinarily, “a petitioner must bear the risk of attorney error” and “a

garden variety claim of excusable neglect, such as a simple miscalculation that

leads a lawyer to miss a filing deadline, does not warrant equitable tolling.” Id.

at 650–52 (citations omitted) (internal quotation marks omitted). However,

“the exercise of a court's equity powers must be made on a case-by-case basis.”

Id. at 649–50 (internal quotation marks omitted) (ellipses omitted).

      Here, Petitioner cannot show any extraordinary circumstance which

prevented the contents of his attempts to supplement his reply (DE # 144, #

145) from being filed either contemporaneously with his § 2255 Petition (DE

#125) or within the 21-day limit set for his reply. Petitioner’s § 2255 Motion

clearly stated his intent to use his grandparents and mother as witnesses (DE

# 125 at 11(in parenthetical)), and those are the same persons whose affidavit

is offered in DE #145-1. Petitioner has already filed statements from all of

these same persons (see, e.g., DE # 134 at 35-75; DE # 137-5; DE # 143-2). There

is no extraordinary circumstance here that would support Petitioner’s attempt

to avoid the time limits regarding his answer. Additionally, there is nothing



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within Petitioner’s DE # 145-1 that is new. The court transcripts, internet

content, and other assorted items Petitioner has included all existed prior to

Petitioner’s reply (DE #143).

      There is, to the undersigned, no discernable coherent claim for relief in

the material Petitioner seeks to add to his § 2255 Motion in DE # 145. Much of

that document concerns a supervised release violation hearing, and this would

appear to be the gravamen of Petitioner’s claim therein:

      [The testifying probation officer] misrepresented facts and truth
      upon the court, and the [undersigned prosecutor] presented such
      falsehoods with malice, to retaliate against Petitioner … with an
      intent to prevent Petitioner from being able to file a successful
      2255 Motion to be able to overturn his wrongful conviction … The
      intent was that Petitioner should not appeal his conviction and
      that Petitioner would be set up again with child porn including [a
      proposed defense witness] if he dare challenge his wrongful
      conviction.

DE #145 at 8. The supervised release violation hearing referenced by

Petitioner was held on June 30, 2015. Earlier in 2015, Petitioner had already

given untimely notice of appeal in his criminal case (DE #56, 62), dismissed in

part with judgment affirmed by the Fourth Circuit on April 7, 2015 (DE #75).

As stated in the government’s Motion to Dismiss (DE #141), Petitioner had at

most until July 7, 2015, to timely-file a § 2255 motion. That deadline passed

after the supervised release violation hearing concluded. Thus, nothing



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prevented Petitioner from meeting the filing rules under 18 U.S.C. § 2255.

Moreover, nothing in Petitioner’s additional materials demonstrates actual

innocence; rather, it constitutes the same disjointed litany of conclusory

allegations, accusations against others, and irrelevant material common to

Petitioner’s submissions to the Court.

Motion for Pre-Filing Injunction

      The government herein moves this Honorable Court under the All Writs

Act for an order granting a permanent pre-filing injunction barring Petitioner

from filing any future motions, however captioned, that are directly or

indirectly related to the above-captioned matters in any Court, whether state

or federal, without leave of this Court. In support of this Motion, the

government files herewith a supporting memorandum which is attached and

incorporated herein by reference.

      WHEREFORE, the United States respectfully requests that the Court

deny leave for considering the Petitioner’s motion for additional evidence (DE

# 144, # 145), and, after affording Petitioner an opportunity to be heard on the

government’s Motion for Pre-Filing Injunction, enjoin Petitioner from filing

any future motions, however captioned, that are directly or indirectly related




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to the above-captioned matters in any Court, whether state or federal, without

leave of this Court.

      This the 23rd day of March, 2018.


                              Respectfully submitted,

                              MATTHEW G.T. MARTIN
                              UNITED STATES ATTORNEY


                              /S/ ANAND P. RAMASWAMY
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UNITED STATES OF AMERICA,                 :
       Respondent.                        :

                             CERTIFICATE OF SERVICE

      I hereby certify that on March 23, 2018, the foregoing was electronically filed
with the Clerk of the Court using the CM/ECF system, and I hereby certify that the
document was mailed to the following non-CM/ECF participant:

Mr. BRIAN DAVID HILL
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Martinsville, VA 24112


                                    Respectfully submitted,

                                    MATTHEW G.T. MARTIN
                                    UNITED STATES ATTORNEY


                                    /S/ ANAND P. RAMASWAMY
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